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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )            Case No. 05-216-JLR-JPD
11         v.                             )
                                          )
12   RONALD ROWE,                         )            DETENTION ORDER
                                          )
13         Defendant.                     )
     ____________________________________ )
14

15 Offenses charged:

16          1.      Kidnaping in violation of 18 U.S.C. §§ 1201(a)(1) and (g)(1); and

17          2.      Transporting a minor with intent to engage in sexual activity in violation of 18

18 U.S.C. §§ 2423(2) and 2.

19 Date of Detention Hearing: June 28, 2005.

20          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

21 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

22 that no condition or combination of conditions which defendant can meet will reasonably assure

23 the appearance of defendant as required and the safety of other persons and the community.

24          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

25          Defendant has stipulated to detention and has reserved the right to contest his continued

26 detention if there is a change in circumstances.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         IT IS THEREFORE ORDERED:

02         (1)   Defendant shall be detained pending trial and committed to the custody of the

03               Attorney General for confinement in a correction facility separate, to the extent

04               practicable, from persons awaiting or serving sentences or being held in custody

05               pending appeal;

06         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

07               counsel;

08         (3)   On order of a court of the United States or on request of an attorney for the

09               government, the person in charge of the corrections facility in which defendant is

10               confined shall deliver the defendant to a United States Marshal for the purpose of

11               an appearance in connection with a court proceeding; and

12         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

13               counsel for the defendant, to the United States Marshal, and to the United States

14               Pretrial Services Officer.

15
                 DATED this 28th day of June, 2005.
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                                                       A
                                                       JAMES P. DONOHUE
                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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